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				IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2024 OK 44Case Number: SCBD-7491Decided: 06/10/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 44, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION.

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IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2023 DUES



ORDER STRIKING NAMES 



The Board of Governors of the Oklahoma Bar Association filed an Application for Order Striking Names of attorneys from the Oklahoma Bar Association's membership rolls for failure to pay dues as members of the Oklahoma Bar Association for the year 2023.

Pursuant to the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011, ch. 1, app. 1, art. VIII, §2, the Oklahoma Bar Association's members named on Exhibit A, attached hereto, were suspended from membership in the Oklahoma Bar Association and prohibited from practicing law in the State of Oklahoma by this Court's Order of June 12, 2023 and thereafter by Correction Order dated June 19, 2023, for failure to pay their 2023 dues in accordance with Article VIII, Section 2 of the Rules. Based upon the application, this Court finds that the Board of Governors determined at its May 24, 2024 meeting that none of the Oklahoma Bar Association members named on Exhibit A, attached hereto, have applied for reinstatement, pursuant to Article VIII, Section 4 of the Rules, at the time of the filing of its application. The Board of Governors further declared that the members named on Exhibit A, attached hereto, shall cease to be members of the Oklahoma Bar Association and that their names should therefore be stricken from the membership rolls and the Roll of Attorneys on June 12, 2024, pursuant to Article VIII, Section 5 of the Rules. This Court further finds that the actions of the Board of Governors of the Oklahoma Bar Association are in compliance with the Rules.

IT IS THEREFORE ORDERED that the attorneys named as set forth on Exhibit A, attached hereto, are hereby stricken from the Roll of Attorneys for failure to pay their dues as members of the Association for the year 2023.

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DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 10TH DAY OF JUNE, 2024.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.



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&nbsp;Exhibit "A"
Strike for Failure to Reinstate after Suspension for non-payment of 2023 Dues

OBA # 33463
Brooke Lindsay Ballard
313 Terrell Ave
Bremerton, WA 98312-3719

OBA # 31923
Edward Joseph Batis Jr.
3 Serena
San Antonio, TX 78248-2440

OBA # 675
Thomas Prade Bellamy
PO Box 553
Blair, OK 73526-0553

OBA # 22492
Katherine Lindsay Bendick
1901 Churchill Way
Oklahoma City, OK 73120-1149

OBA # 32177
Staci Deborah Cassidy
5080 Spectrum Drive
1020 W Addison
Addison, TX 75001

OBA # 1675
Mark D. Christiansen
6208 Waterford Blvd Apt 100
Oklahoma City, OK 73118-1113

OBA # 22935
Peter Gay Estes III
PO Box 3883
Fayetteville, AR 72702-3883

OBA# 20052
Kevin D. Etherington
Payne County District Attorney's Office
606 S. Husband, Room 111
Stillwater, OK 74074-4044

OBA # 20200
Geoffrey Allan Evans
7335 Musselburgh Dr
Frisco, TX 75036-1057

OBA # 34660
Degol Tseggai Gherezghiher
2341 NW 198th St
Edmond, OK 73012-5220

OBA # 19466
Raphael Thomas Glapion
433 N Air Depot Blvd Apt 7
Midwest City, OK 73110-1722

OBA # 33354
Jordan Lee Harmon
1135 S Birmingham Pl
Tulsa, OK 74104-3926

OBA # 4184
Curley Higgins
420 S Lawton Ave Apt 517
Tulsa, OK 74127-8929

OBA # 14351
Robert Earl Jones Jr.
1819 Rolling Hills St
Norman, OK 73072-6707

OBA # 11125
Theodore Koss Jr.
10604 Admiral Dr
Oklahoma City, OK 73162-6806

OBA # 5240
John V. Larence
PO Box 58113
Louisville, KY 40268-0113

OBA # 14274
Sheryl Diane McCoy-Strowbridge
4325 Rob Ln
Joplin, MO 64804-5357

OBA # 6463
Logan Vansen Moss
126 Senora Ct
Saint Augustine, FL 32095-4838

OBA # 10431
Gary L. Parrish
10300 Greenbriar Pl
Oklahoma City, OK 73159-7653

OBA # 21462
Tamara Schiffner Pullin
1 Firstcomm Plz
Fort Worth, TX 76109-4978

OBA # 8178
Clifford Byron Shilling
109 S West St Apt 6
Stillwater, OK 74074-3037

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